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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JULIAN PEACOCK, et al.                         *
     Plaintiffs
v.                                             *      CASE NO. 12-cv-02867 CCB

PENINSULA REGIONAL                             *
 MEDICAL CENTER, et al.
                                               *
       Defendants
*      *     *         *       *       *       *      *       *       *       *       *       *

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       The Parties, by and through their attorneys, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), hereby stipulate and agree that Plaintiffs’ Complaint shall be

dismissed in its entirety and with prejudice as to all claims asserted in this matter against all

Defendants: Peninsula Regional Medical Center, Peninsula Regional Health System, Inc., John

R. McLean, M.D., and John R. McLean, M.D. and Associates.


Respectfully submitted,


_____________/s/____________________                  _______/s/_________________________
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         Case 1:12-cv-02867-CCB Document 37 Filed 04/30/14 Page 2 of 2



                                                     ______/s/___________________________
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                                                     Easton, MD 21601
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                                                     Counsel for John R. McLean, M.D., and
                                                     John R. McLean, M.D. & Associates



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of April, 2014, a copy of the foregoing

Stipulation of Dismissal with Prejudice was electronically served on:


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                                                    _____/s/___________________________
                                                    Pamela J. Diedrich




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